                                                                   (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5     ATTORNEYS FOR  Defendant,
                   HAROLD DES JARDINS
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                  * * * * * *
11
     UNITED STATES OF AMERICA,                            Case No.: 1:06-CR-00184 LJO
12
                   Plaintiff,
13                                                           STIPULATION TO CONTINUE
           vs.                                                    MOTION HEARING
14                                                           AND O R D E R OF DENIAL
     HAROLD DES JARDINS, ET AL.,
15                                                        Date: August 24, 2007
                   Defendants.                            Time: 1:30 p.m.
16                                                        Dept: LJO
17
18         IT IS HEREBY STIPULATED by and between attorneys for the
19   respective        parties          herein     that    the   Motion     Hearing       currently
20   scheduled for August 24, 2007, be continued to September 21, 2007,
21   at 11:00 a.m. in the courtroom of the Honorable LAWRENCE J. O’NEIL.
22         Counsel for Defendants herein have requested this continuance
23   due to the fact that counsel for Defendant DES JARDANS, is in a
24   trial entitled PEOPLE VS. JACK QUIGLEY, and is unable to be present
25   at the hearing above-mentioned.
26   ///
27   ///
28         Counsel for Defendants, DES JARDANS and MANN, have spoken with
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 1   Assistant U. S. Attorney, MARK CULLERS, who is agreeable to this
 2   continuance.
 3   DATED: August 21, 2007.
 4                                       Respectfully submitted,
 5                                       NUTTALL & COLEMAN
 6
                                           /s/ Roger T. Nuttall
 7                                 By: _______________________________
                                       ROGER T. NUTTALL
 8                                     Attorneys for Defendant
                                       HAROLD DES JARDINS
 9
     DATED: August 21, 2007.
10
11                                         /s/ Mark W. Coleman
                                   By: _______________________________
12                                     MARK W. COLEMAN
                                       Attorneys for Defendant
13                                     JAMES MANN
14   DATED: August 21, 2007.
15
                                               /s/ Michael Dias
16                                 By:
                                         MICHAEL DIAS
17                                       Attorneys for Defendant
                                         VETERINARY PHARMACEUTICALS INC.
18
19   DATED: August 21, 2007.
20
21                                           /s/ Mark Cullers
                                         ___________________________
22                                       MARK CULLERS
                                         Assistant U. S. Attorney
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 1                                   O R D E R
 2   THE COURT HAS RECEIVED AND REVIEWED THE REQUEST TO CONTINUE THE
     MOTIONS SET TO BE HEARD IN 48 HOURS. SINCE A GOOD DEAL OF TIME HAS
 3   BEEN DEVOTED TO PREPARING FOR THE MOTIONS, BOTH BY COUNSEL AND BY
     THE COURT, COUPLED WITH THERE BEING NO STATEMENT REGARDING WHEN IT
 4   WAS LEARNED THAT COUNSEL WAS TO BE IN TRIAL AND THUS UNAVAILABLE
     FOR THE HEARING ON THE MOTIONS (OR IN THE ALTERNATIVE THAT THE
 5   TRIAL TOOK LONGER THAN ORIGINALLY WAS PREDICTED), AND/OR THAT
     ALTERNATIVE COUNSEL IS NOT AVAILABLE TO APPEAR FOR THE MOTIONS
 6   HEARING, THE COURT CAN NOT CONCLUDE THAT GOOD CAUSE EXISTS TO GRANT
     THE CONTINUANCE. THE MOTION IS DENIED WITHOUT PREJUDICE.
 7
     IT IS SO ORDERED.
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     Dated:   August 22, 2007              /s/ Lawrence J. O'Neill
 9   b9ed48                            UNITED STATES DISTRICT JUDGE
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